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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                               CENTRAL DIVISION
                                  LEXINGTON


CIVIL ACTION NO.                                             ELECTRONICALLY FILED


ERVINIA J. HALL                                                            PLAINTIFF


VS.                             NOTICE OF REMOVAL


JOANNE BRUNER, in her Individual Capacity
And her Official Capacity as Group Manager
And/or the Internal Revenue Service                                        DEFENDANT


AND


STEVE BOCCHETTI, in his Individual Capacity
And his Official Capacity as Territory Manager,
And/or the Internal Revenue Service                                       DEFENDANT


AND


INTERNAL REVENUE SERVICE                                                   DEFENDANT


                                         *****


      1.     This Notice of Removal is filed pursuant to 28 U.S.C. §§ 1442(a)(1) and

1446 for the removal for trial and disposition of Civil Action Number 11-CI-3900 captioned

Ervina J. Hall v. Joanne Bruner, et al, now pending in the Commonwealth of Kentucky,


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Fayette Circuit Court. A copy of the Complaint is attached hereto as Exhibit A. In

addition, Exhibit A contains copies of all process, pleadings and orders filed in the case to

date.

        2.    This action arises out of an employment discrimination claim that was

federally administratively processed against the United States Internal Revenue Service.

As the Complaint states, the individual defendants, Joanne Bruner and Steve Bocchetti,

are employees of the United States Internal Revenue Service. The only proper

defendant in a discrimination claim against a federal agency is the head of the federal

agency. 42 U.S.C. § 2000e-16. The current Secretary of the United States Department

of the Treasury is Timothy F. Geithner. Further, this claim is governed by federal and not

state law. 42 U.S.C. § 2000e-16(c); Browns v. Henderson, 7 Fed.Appx. 472, 474, 2001

WL 345775 (6th Cir.), citing Brown v. GSA, 425 U.S. 820, 829 (1976).

        3.    The Complaint also lists various tort claims against the defendants. Filed

simultaneously herewith is the United States Attorney’s Certification that at the time of the

alleged discrimination and alleged torts, Bruner and Bocchetti’s conduct was within the

scope of their federal office or employment. See Exhibit B: Certificate. The United

States Attorney’s Certification conclusively establishes scope of employment for the

purposes of removal. 28 U.S.C. § 2679(d)(2). The tort claims are precluded by Title

VII’s exclusive remedy scheme and other grounds. Brown v. GSA, supra. Plaintiff has

also brought state statutory claims which cannot be maintained against the United States

and its employees.

        4.    Pursuant to 28 U.S.C. § 1442(a)(1) a state court action against the United

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States is removable. No further showing is necessary. Willingham v. Morgan, 395 U.S.

402, 406, 89 S.Ct. 1813 (1969); City of Cookeville, Tennessee v. Upper Cumberland

Electric Membership Corp., et al., 484 F.3d 380, 388-391 (6th Cir. 2007).

       5.     The first defendant to be served with the Complaint in the above denoted

state court action was Joanne Bruner, who was served on August 2, 2011. Thus,

removal is timely. 28 U.S.C. § 1446(b).

       WHEREFORE, the above-captioned action, pending in the Commonwealth of

Kentucky, Fayette Circuit Court, is removed in its entirety to this court and the defendants

will defend the action in a federal forum.



                                             KERRY B. HARVEY
                                             UNITED STATES ATTORNEY


                                   By:        s/Robin Gwinn
                                             Robin Gwinn
                                             Assistant United States Attorney
                                             260 West Vine Street, Ste. 300
                                             Lexington, KY 40507
                                             Phone: (859) 685-4869
                                             Fax: (859) 233-2533
                                             robin.gwinn@usdoj.gov




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                                CERTIFICATE OF SERVICE

      I hereby certify that on August 19, 2011, I electronically filed the foregoing with the

clerk of the court by using the CM/ECF system.

      A copy of the foregoing was sent by first-class mail to:

      J. Robert Cowan
      Cowan Law Office, PLC
      2401 Regency Road, Suite 300
      Lexington, KY 40503
      ATTORNEY FOR PLAINTIFF


                                           s/ Robin Gwinn
                                           Assistant United States Attorney




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